Case 6:17-cv-02206-CEM-GJK Document 60-9 Filed 05/23/18 Page 1 of 2 PageID 601




                                     UNITED STATES DISTRICT COURT
                                                  for the
                                          Middle District of Florida

    NuVasive, Inc. vs. Absolute Medical, LLC, Greg Soufleris & Dave Hawley

                                                                                       6:17-2206-0RL-41GJK



                                                  Affidavit of Service


    Received by Orange Legal on the     13
                                         TH      day of       /\pg
                                                             IL             at __J__: 55: PM!@to
    be served upon Absolute ~edical, LLC at 10525 Cromwell Grove Terrace Orlando FL 32827

    On the    l£m day of APRIL              at   7 :,50   @AM I,         foNI &AN

    SERVED the within named defendant at         )05().5' UOMWE/...L GROVE                lcRf?/JC~
        0 BLAN J)O . FLI
                                 3;;? f?d 7                                in the manner indicated below:

    ( ) INDIVIDUAL SERVICE, by personally delivering a copy of the below-listed documents to the named
    Defendant.


    (v{SUBSTITUTE SERVICE, by leaving a copy of the below-listed documents at his/her usual place of
    abode with

     LINDSEY SouFL6RtS                       (NAME), as   Co    f<6SI06NT            (RELATIONSHIP) :a
    person residing therein of suitable age and discretion who confirmed the Defendant resides at the above
    address and informed that person of the contents thereof.

    (    ) CORPORATE SERVICE, by personally leaving a copy of the below-listed documents with


    _ _ _ _ _ _ _ _ _ _ _ _ _(NAME) _ _ _ _ _ _ _ _ _ _ _ _ _(,TITLE) a
    person authorized to accept service and informed the person of the contents thereof.



    Documents to be

    served:   Svrsf?Ot=-NA




                                                                                                              EXHIBIT

                                                                                                        I       9
Case 6:17-cv-02206-CEM-GJK Document 60-9 Filed 05/23/18 Page 2 of 2 PageID 602




    472207


    THE DESCRIPTION OF THE PERSON WITH WHOM THE COPY OF THIS PROCESS WAS LEFT IS
    AS FOLLOWS:
                                                               P~L~
    RaceWHliEAge _ _ Sexf6MALEHeight5'y-5~ WeightllO-i~s'Hair BRcWN Glasses Y o(Ej

    I, being first duly sworn on oath, depose and state: I am a citizen of the United States, over the age of
    eighteen,. not a party to nor interested in the above entitled action, and have the proper authority in the
    jurisdiction in which this service was made, pursuant to Chapter 48 of Florida Statutes. Under penalties of
    perjury, I declare that I have read the foregoing document and that the facts stated in it are true and accurate.




                                                                        Server ID#                               Date




    State of   hoRIDA                County of   S i;.N\I NOlcE.
    Sworn and subscribed before me on this     /f£/(ff day of_~M_YLl
                                                                  __L~.___,20                     lf5'        by the Affiant who
    is personally known to me.


                                                                       ~~·~~ MATTHEW R MORGIONI
                                                                       ~r~~~
                                                                       w
                                                                      (407) 398-0153
                                                                                       MY COMMISSION# FF897624
                                                                                          EXPIRES July 09, 2019
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